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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
 Ryan Quarles,                                       :
 Plaintiff.                                          :
                                                     :
 v.                                                  :
                                                     :
 Philadelphia Police Officers                        :
 Matthew Ponente, Badge # 7384,                      : Civil Action No.
 Rozman, Badge #7079,                                :
 Aaron Turner, Badge # 9439,                         :
 Tilghman, Badge 6338, and                           :
 Sgt. McCabe, Badge # 403                            :
 Defendants.                                         :
                                                     :


                                  NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendants, Philadelphia Police Officers

Matthew Ponente, Rozman, Aaron Turner, Tilghman and Philadelphia Police Sergeant McCabe,

timely remove this action from the Court of Common Pleas of Philadelphia County, Pennsylvania,

to the United States District Court for the Eastern District of Pennsylvania, on the following

grounds:

       1.      On May 25, 2021, Ryan Quarles (“Plaintiff”) filed a Complaint in the Philadelphia

Court of Common Pleas, which is captioned as Quarles v. Ponente, Badge # 7384, et al., with the

associated civil action number 210502280 in that court. A true and correct copy of that Complaint

is attached here as Exhibit A.

       2.      By his Complaint, Plaintiff alleges that he “is a resident of Gwinnett County,

Georgia.” Compl., Ex. A, ¶ 2.

       3.      By his Complaint, Plaintiff alleges that he is seeking “substantial compensatory

and punitive damages . . . in the amount of Ten Million Dollars ($10,000,000).” Ex. A, ¶ 50
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(emphasis in original).

        4.        28 U.S.C. § 1332 states that “[t]he district courts shall have original jurisdiction of

all civil actions where the matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, and is between: (1) citizens of different States.” 28 U.S.C. § 1332(a)(1).

        5.        The United States District Court for the Eastern District of Pennsylvania has

jurisdiction over the claims alleged by Plaintiff, pursuant to 28 U.S.C. § 1332.

        6.        Defendants, Philadelphia Police Officers Matthew Ponente, Rozman, Aaron

Turner, Tilghman and Philadelphia Police Sergeant McCabe, are represented by the undersigned

counsel.

        7.        True and correct copies of this Notice of Removal with accompanying exhibits and

separate Notice to State Court of Filing of Notice of Removal, a copy of which is attached hereto

as Exhibit B, will be served upon counsel for Plaintiff and filed with the Prothonotary of the Court

of Common Pleas of Philadelphia County, Pennsylvania, in accordance with the provisions of 28

U.S.C. § 1446(d).

        8.        In filing this Notice of Removal, Defendants do not waive any available defenses

in this action.

        WHEREFORE, Defendants, Philadelphia Police Officers Matthew Ponente, Rozman,

Aaron Turner, Tilghman and Philadelphia Police Sergeant McCabe, request that the State Court

Action, docketed at Docket No. 210502280 in the Court of Common Pleas of Philadelphia County,

Pennsylvania, be removed from the Court of Common Pleas of Philadelphia County, Pennsylvania

to the United States District Court for the Eastern District of Pennsylvania.



Date: June 24, 2021                                      Respectfully submitted,
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                                  /s/ Shannon Zabel
                                  Shannon Zabel, Esquire
                                  Deputy City Solicitor
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 Tilghman, Badge 6338, and                           :
 Sgt. McCabe, Badge # 403                            :
 Defendants.                                         :
                                                     :


                               CERTIFICATE OF SERVICE

         I, Shannon Zabel, Attorney for Defendants, Philadelphia Police Officers Matthew Ponente,
Rozman, Aaron Turner, Tilghman and Philadelphia Police Sergeant McCabe, do hereby certify
that a true and correct copy of the attached Notice of Removal has been served upon the following
by email:

Aaron Bell, Esq.
Law Office of Aaron Bell
7303 Frankford Avenue, P.O. Box 22024
Philadelphia, PA 19136
aaronbelllawfirm@gmail.com


Date: June 24, 2021                                 Respectfully submitted,


                                                    /s/ Shannon Zabel
                                                    Shannon Zabel
                                                    Deputy City Solicitor
                                                    Pa. Attorney ID No. 321222
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